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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION


UNITED STATES OF AMERICA                                                    PLAINTIFF

VS.                            NO. 4:14-CR-211-26-DPM

DUSTIN TARRANTS                                                           DEFENDANT

                                          ORDER

       Pending before the Court is a motion for issuance of summons and for revocation

of pretrial release. (Docket entry #759) For good cause shown, the motion for issuance

of summons is GRANTED. The Clerk is directed to issue summons to Defendant Dustin

Tarrants, and deliver to the United States Marshal for execution, requiring Defendant’s

appearance at a hearing before United States Magistrate Judge Beth Deere on May 24,

2016, at 9:30 a.m., at the Richard Sheppard Arnold United States Courthouse, 500 West

Capitol Avenue, Little Rock, Arkansas, 72201, Courtroom 1D, to show cause why his

pretrial release should not be revoked.

       IT IS SO ORDERED this 9th day of May, 2016.



                                          ____________________________________
                                          UNITED STATES MAGISTRATE JUDGE
